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FEELTR3(08/09)

                                United States Bankruptcy Court
                                 Northern District of Oklahoma
Michael Williams                              Room 105                                      Telephone
Clerk, U. S. Bankruptcy Court         224 South Boulder Avenue                          (918) 699−4000
                                       Tulsa, Oklahoma 74103
                                      www.oknb.uscourts.gov


July 3, 2019

Tonnie Chicke Nichols
Boris Bernard Nichols                                  Case No.: 19−11334−R
8562 E 32nd St                                         Chapter: 13
Tulsa, OK 74145


Dear Debtors :

On 06/28/2019, the Court entered an Order Denying Application to Pay Filing Fees in Installments. Unpaid
filing fees in the amount of $310.00 remain due and payable. Payments shall be paid with cash, money
order or cashier's check. Cash payments shall be for the exact amount as the Clerk's office cannot make
change. Money orders / cashier's checks should be made payable to Clerk, United States Bankruptcy
Court. Payments must include a reference to your name and case number.




           July 3, 2019                                        MICHAEL L. WILLIAMS
               Date                                            CLERK, U.S. BANKRUPTCY COURT
